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                               UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                      TAMPA DIVISION

  UMG RECORDINGS, INC., ET AL.,

                 Plaintiffs,

         v.                                             Case No. 8:19-cv-710-MSS-TGW

  BRIGHT HOUSE NETWORKS, LLC,

              Defendant.
  _______________________________________

                                CASE MANAGEMENT REPORT

        The parties have agreed on the following dates and discovery plan pursuant to Fed. R. Civ.

 P. 26(f) and Local Rule 3.05(c):

  DEADLINE OR EVENT                                 AGREED DATE

  Mandatory Initial Disclosures (pursuant to Wednesday, June 19
  Fed.R.Civ.P. 26(a)(1) as amended effective
  December 1, 2000)
  [Court recommends 30 days after CMR
  meeting]

  Certificate of Interested Persons and Each party has already filed a corporate
  Corporate Disclosure Statement           disclosure statement and certificate of
                                           interested persons.
  [Each party who has not previously filed
  must file immediately]

  Motions to Add Parties or to Amend The deadline to join parties and amend
  Pleadings                            pleadings shall be Monday, December 2,
  [Court recommends 1 - 2 months after 2019.
  CMR meeting]
                                       Notwithstanding the foregoing deadline,
                                       Plaintiffs may file amended versions of Exhibit
                                       A (list of sound recordings at issue) and/or
                                       Exhibit B (list of compositions at issue) to the
                                       Complaint on or before Friday, February 14,



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                                                2020 to conform those exhibits to information
                                                learned in discovery.

  Parties to file Preliminary Infringement N/A
  Contentions [Court recommends 1 month
  from above]

  Parties to file Preliminary Invalidity N/A
  Contentions [Court recommends 1 month
  from above]

  Initial Identification of Disputed Claim N/A
  Terms
  [Court recommends 1 month from above]

  Parties to Exchange a List of Proposed N/A
  Terms for Construction and Proposed
  Constructions [Court recommends 1 month
  from above]

  Parties to File Joint Claims Construction N/A
  Chart with a list of constructions of
  disputed terms, chart of intrinsic evidence,
  and identification of any evidence including
  expert or other witnesses [Court
  recommends 1 month from above]

  Parties to File Claim Construction Briefs N/A
  [Court recommends 1 month from above]

  Parties to File Responses to Claim N/A
  Construction Briefs [Court recommends 1
  month from above]
  Claim Construction (Markman) Hearing:
  [Court recommends 1 month from above]

  Parties to File Final Infringement N/A
  Contentions
  [Court recommends 1 months from above]

  Parties to file Final Invalidity Contentions N/A
  [Court recommends 14 days from above]

  Fact Discovery Deadline                       Friday, April 24, 2020.
  [Court recommends 14 days from above]



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  Disclosure of Expert Reports                    Initial Reports: Friday, April 10, 2020

  Plaintiff’s Infringement and Damages Responsive Reports: Friday, May 15, 2020
  Reports and Defendant’s Invalidity Report
  and/or Inequitable Conduct Report
  [Court recommends 1 month from above]

  Plaintiff and Defendant’s Responsive
  Reports [Court recommends 1 months from
  above]

  Expert Discovery Deadline                      Thursday, June 11, 2020
  [Court recommends 6 months before trial to
  allow time for dispositive motions to be filed
  and decided; all discovery must be
  commenced in time to be completed before
  this date]

  Dispositive Motions and Daubert Motions Tuesday, August 4, 2020
  [Court requires 5 months or more before
  trial term begins]

  Meeting In Person to Prepare Joint Final Monday, October 19, 2020
  Pretrial Statement
  [14 days before Joint Final Pretrial
  Statement]

  Joint Final Pretrial Statement (Including a Monday, November 2, 2020
  Single Set of Jointly-Proposed Jury
  Instructions and Verdict Form, Voir Dire
  Questions, Witness Lists, Exhibit Lists with
  Objections on Approved Form)
  [Court recommends 6 weeks before Trial]

  All Other Motions Including Motions In Monday, December 7, 2020
  Limine [Court recommends 1 week before
  Final Pre-trial Conference]

  Final Pretrial Conference                        If needed, it will be set, by separate notice,
                                                      on a date that is approximately 4 weeks
                                                                                     before trial

  Trial Briefs and Deposition Transcripts         Monday, December 14, 2020
  with Designations Highlighted
  [Court recommends 2 weeks before Trial]



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  Trial Term Begins                             Monday, January 11, 2021
  [Local Rule 3.05 (c)(2)(E) sets goal of trial
  within 2 years of filing complaint in all
  Track Two cases; trial term must not be less
  than 4 months after dispositive motions
  deadline (unless filing of such motions is
  waived); trials before magistrate judges will
  be set on a date certain after consultation
  with the parties]

  Estimated Length of Trial [trial days]              15

  Jury/ Non-Jury                                      Jury

  Mediation Deadline:                                 Monday, May 18, 2020

  Mediator:
  Address:

  Telephone:

  [Absent arbitration, mediation is
  mandatory; Court recommends either 2 - 3
  months after CMR meeting, or just after
  discovery deadline]

  All Parties Consent to Proceed Before                                                   Yes ____
  Magistrate Judge
                                                                                          No _X__

                                                                Likely to Agree in Future _____



        1.      Meeting of the Parties

        Pursuant to an order of the Court permitting the parties to meet telephonically, counsel for

 the parties held a telephonic conference on May 22, 2019, at 12:30 p.m. Pacific / 3:30 p.m. Eastern.

 The meeting was attended by: Mitchell A. Kamin, Jeffrey Gould, and Rebecca G. Van Tassell

 for Plaintiffs, and John J. Rosenthal, Seth E. Spitzer and Giovanni Giarratana for Defendant.

        2.      Brief Description of the Case

        Plaintiffs


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         Plaintiffs claim that Defendant is contributorily and vicariously liable for the direct

 copyright infringements of its subscribers, who used Defendant’s internet access and services to

 unlawfully reproduce and distribute via BitTorrent, or other peer-to-peer networks, thousands of

 sound recordings and musical compositions for which Plaintiffs are the legal or beneficial

 copyright owners or exclusive licensees.

         Defendant is contributorily liable for such infringements because it had knowledge that its

 internet access and other services was being used for infringement of Plaintiffs’ copyrighted

 works, and also knew of specific subscribers engaged in such repeated and flagrant infringement,

 but nevertheless facilitated, encouraged, and materially contributed to such infringement by

 continuing to provide its network and facilities necessary for its subscribers to commit repeated

 infringements. Defendant had the means to withhold that assistance upon learning of specific

 infringing activity by specific users but failed to do so.

         Defendant is vicariously liable for such infringements because it had the legal and practical

 right and ability to supervise and control the infringing activities that occur through the use of its

 network, and at all relevant times has had a financial interest in, and derived direct financial benefit

 from, the infringing use of its network.

         Defendant

         Plaintiffs will be unable to establish either theory of secondary liability, which require

 separate elements of proof. As a threshold matter, both claims will fail because Plaintiffs cannot

 show any underlying direct infringement, which is a prerequisite under either theory. Plaintiffs’

 claims are also barred because Defendant qualifies for “safe harbor” under the Digital Millennium

 Copyright Act § 512(a).




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        Plaintiffs’ claim for contributory infringement will fail for the independent reasons that the

 notices on which Plaintiffs’ rely cite only allegations of infringement, and Defendant lacks the

 requisite intent. Plaintiffs’ claim for vicarious infringement will fail because Plaintiffs will be

 unable to establish that Defendant has directly enjoyed a financial benefit from the allegedly

 infringing activity or has the ability to control subscribers’ allegedly infringing activity.

 Specifically, Plaintiffs cannot prove that subscribers’ allegedly infringing activity acts as a draw

 for subscribers to purchase Defendant’s internet access service. Nor can Plaintiffs prove that

 Defendant maintains the right and ability to stop users from engaging in infringing activity as

 Defendant cannot monitor and control its subscribers’ use of the internet, and because Defendant’s

 ability to terminate subscribers altogether does not stop the alleged infringement.

        3.       Pre-Discovery Initial Disclosures of Core Information

        Fed.R.Civ.P. 26(a)(1)(A) - (D)

        Fed.R.Civ.P. 26, as amended effective December 1, 2000, provides that these disclosures

 are mandatory in Track Two and Track Three cases, except as stipulated by the parties or otherwise

 ordered by the Court (the amendment to Rule 26 supersedes Middle District of Florida Local Rule

 3.05, to the extent that Rule 3.05 opts out of the mandatory discovery requirements):

        The parties ___ have exchanged _X_ agree to exchange (check one)

        information described in Fed.R.Civ.P. 26(a)(1)(A) - (D) (check one)

        ____ on _X_ by Wednesday, June 19, 2019.

        Below is a description of information disclosed or scheduled for disclosure, including

 electronically stored information as further described in Section 4 below.

             •   The names and, if known, the addresses and telephone numbers of individuals

                 likely to have discoverable information, along with the subjects of that information,




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                    that the disclosing party may use to support its claims or defenses, unless the use

                    would be solely for impeachment;

                •   A description by category of all documents, electronically stored information, and

                    tangible things that the disclosing party has in its possession, custody, or control

                    and may use to support its claims or defenses, unless the use would be solely for

                    impeachment;

                •   A preliminary computation of each category of damages claimed by the disclosing

                    party;

                •   Any insurance agreement under which an insurance business may be liable to

                    satisfy all or part of a possible judgment in the action or to indemnify or reimburse

                    for payments made to satisfy the judgment.

           4.        Electronic Discovery

           The parties have discussed issues relating to disclosure or discovery of electronically stored

 information (“ESI”), including Pre-Discovery Initial Disclosures of Core Information Section 3

 above, and agree that (check one):

           ___ No party anticipates the disclosure or discovery of ESI in this case;

           _X_ One or more of the parties anticipate the disclosure or discovery of ESI in this case.

           If disclosure or discovery of ESI is sought by any party from another party, then the

 following issues shall be discussed:

           A. The form or forms in which ESI should be produced.

           B. Nature and extent of the contemplated ESI disclosure and discovery, including

 specification of the topics for such discovery and the time period for which discovery will be

 sought.




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         C. Whether the production of metadata is sought for any type of ESI, and if so, what types

 of metadata.

         D. The various sources of ESI within a party’s control that should be searched for ESI, and

 whether either party has relevant ESI that it contends is not reasonably accessible under Rule

 26(b)(2)(B), and if so, the estimated burden or costs of retrieving and reviewing that information.

         E. The characteristics of the party’s information systems that may contain relevant ESI,

 including, where appropriate, the identity of individuals with special knowledge of a party’s

 computer systems.

         F. Any issues relating to preservation of discoverable ESI.

         G. Assertions of privilege or of protection as trial-preparation materials, including whether

 the parties can facilitate discovery by agreeing on procedures and, if appropriate, an Order under

 the Federal Rules of Evidence Rule 502. If the parties agree that a protective order is needed, they

 shall attach a copy of the proposed order to the Case Management Report. The parties should

 attempt to agree on protocols that minimize the risk of waiver. Any protective order shall comply

 with Local Rule 1.09 and Section IV. F. below on Confidentiality Agreements.

         H. Whether the discovery of ESI should be conducted in phases, limited, or focused upon

 particular issues.

         Please state if there are any areas of disagreement on these issues and, if so, summarize the

 parties’ position on each: The parties state that there are no areas of disagreement at this time with

 respect to ESI.

         If there are disputed issues specified above, or elsewhere in this report, then (check one):

         ___ One or more of the parties requests that a preliminary pre-trial conference under Rule

 16 be scheduled to discuss these issues and explore possible resolutions. Although this will be a




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 non-evidentiary hearing, if technical ESI issues are to be addressed, the parties are encouraged to

 have their information technology experts with them at the hearing.

        If a preliminary pre-trial conference is requested, a motion shall also be filed

 pursuant to Rule 16(a), Fed. R. Civ. P.

        ___ All parties agree that a hearing is not needed at this time because they expect to be able

 to promptly resolve these disputes without assistance of the Court.

        5.      Agreed Discovery Plan for Plaintiffs and Defendants

              a)    A. Certificate of Interested Persons and Corporate Disclosure
        Statement —

        This Court has previously ordered each party, governmental party, intervenor, non-party

 movant, and Rule 69 garnishee to file and serve a Certificate of Interested Persons and Corporate

 Disclosure Statement using a mandatory form. No party may seek discovery from any source

 before filing and serving a Certificate of Interested Persons and Corporate Disclosure Statement.

 A motion, memorandum, response, or other paper — including emergency motion — is subject to

 being denied or stricken unless the filing party has previously filed and served its Certificate of

 Interested Persons and Corporate Disclosure Statement. Any party who has not already filed and

 served the required certificate is required to do so immediately.

        Every party that has appeared in this action to date has filed and served a Certificate of

 Interested Persons and Corporate Disclosure Statement, which remains current:

        ___X___ Yes ______ No

                b)      Discovery Not Filed —

        The parties shall not file discovery materials with the Clerk except as provided in Local

 Rule 3.03. The Court encourages the exchange of discovery requests on diskette. See Local Rule

 3.03 (e). The parties further agree as follows:



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            •     If the parties deem it practicable, they may transmit productions via FTP or post

                  documents to a joint repository.

                  c)     Limits on Discovery —

        Absent leave of Court, the parties may take no more than ten depositions per side (not per

 party). Fed.R.Civ.P. 30(a)(2)(A); Fed.R.Civ.P. 31(a)(2)(A). Absent leave of Court, the parties may

 serve no more than twenty-five interrogatories, including sub-parts. Fed.R.Civ.P. 33(a); Local

 Rule 3.03(a). Absent leave of Court or stipulation of the parties each deposition is limited to one

 day of seven hours. Fed.R.Civ.P. 30(d)(2). The parties may agree by stipulation on other limits on

 discovery. The Court will consider the parties’ agreed dates, deadlines, and other limits in entering

 the scheduling order. Fed.R.Civ.P. 29. In addition to the deadlines in the above table, the parties

 have agreed to further limit discovery as follows:

                         (1)     Depositions

        By stipulated motion, the parties will request leave of court to increase the number of

 depositions per side from ten to twenty, given the number of parties and complexity of issues. The

 twenty depositions allowed per side is inclusive of expert and non-party depositions.

        The parties do not propose any further limitations on depositions than those found in the

 Federal Rules.

                         (2)     Interrogatories

        The parties do not propose any further limitations on interrogatories than those found in

 the Federal Rules.

                         (3)     Document Requests

        The parties agree they should be limited to a total of 100 Requests for Production.

                         (4)     Requests to Admit




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        The parties do not propose any further limitations on requests to admit than those found in

 the Federal Rules.

                        (5)    Supplementation of Discovery

        The parties do not propose any further limitations on supplemental discovery than those

 found in the Federal Rules.

                d)      Discovery Deadline —

        Each party shall timely serve discovery requests so that the rules allow for a response prior

 to the discovery deadline. The Court may deny as untimely all motions to compel filed after the

 discovery deadline. In addition, the parties agree as follows:

        The parties do not propose any additional agreements at this time.

                e)      Disclosure of Expert Testimony —

        On or before the dates set forth in the above table for the disclosure of expert reports, the

 parties agree to fully comply with Fed.R.Civ.P. 26(a)(2) and 26(e). Expert testimony on direct

 examination at trial will be limited to the opinions, basis, reasons, data, and other information

 disclosed in the written expert report disclosed pursuant to this order. Failure to disclose such

 information may result in the exclusion of all or part of the testimony of the expert witness. The

 parties agree on the following additional matters pertaining to the disclosure of expert testimony:

        The parties do not propose any additional agreements at this time.

                f)      Confidentiality Agreements —

        Whether documents filed in a case may be filed under seal is a separate issue from whether

 the parties may agree that produced documents are confidential. The Court is a public forum, and

 disfavors motions to file under seal. The Court will permit the parties to file documents under seal

 only upon a finding of extraordinary circumstances and particularized need. See Brown v.

 Advantage Engineering, Inc., 960 F.2d 1013 (11th Cir. 1992); Wilson v. American Motors Corp.,


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 759 F.2d 1568 (11th Cir. 1985). A party seeking to file a document under seal must file a motion

 to file under seal requesting such Court action, together with a memorandum of law in support.

 The motion, whether granted or denied, will remain in the public record.

        The parties may reach their own agreement regarding the designation of materials as

 “confidential.” There is no need for the Court to endorse the confidentiality agreement. The Court

 discourages unnecessary stipulated motions for a protective order. The Court will enforce

 appropriate stipulated and signed confidentiality agreements.        See Local Rule 4.15.      Each

 confidentiality agreement or order shall provide, or shall be deemed to provide, that “no party shall

 file a document under seal without first having obtained an order granting leave to file under seal

 on a showing of particularized need.” With respect to confidentiality agreements, the parties agree

 as follows:

        The parties will negotiate and execute between themselves a confidentiality agreement on

 or before Wednesday, June 12, 2019. Given the nature of information to be exchanged in this

 case, the parties plan to submit that agreement as a stipulated motion for a protective order, and

 will request entry of the same by the Court.

                   a)     Other Matters Regarding Discovery —

        The parties agree to the following discovery procedures:

               •   Where practicable and appropriate, counsel may attend depositions telephonically

                   or via VTC.

               •   Any party that receives documents from a non-party subpoena shall make those

                   documents available to all other parties.




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              •   For all motions and filings, the parties agree to rely on automated CM/ECF

                  notifications for service. For service of discovery documents not filed through

                  CM/ECF, the parties agree to accept service by email.

              •   The parties agree to exchange Word copies of all discovery requests upon request.

              •   The parties will continue to consider whether additional agreements may reduce

                  the cost of litigation.

         6.       Settlement and Arbitration

                  a)      Settlement

         The parties agree that settlement is

         _____ likely ___X___ unlikely (check one)

         The parties request a settlement conference before a United States Magistrate Judge.

         yes ______ no ___X___ likely to request in future _______

                  b)      Arbitration

         The Local Rules no longer designate cases for automatic arbitration, but the parties may

 elect arbitration in any case. Do the parties agree to arbitrate?

         yes ______ no __X__ likely to agree in future __ ___

                  c)      Mediation

         Absent arbitration or a Court order to the contrary, the parties in every case will participate in

 Court-annexed mediation as detailed in Chapter Nine of the Court’s Local Rules. The parties will

 agree on a mediator from the Court’s approved list of mediators, and have agreed to the date stated in

 the table above as the last date for mediation. The list of mediators is available from the Clerk, and is

 posted on the Court’s web site at http://www.flmd.uscourts.gov.

                  d)      Other Alternative Dispute Resolution

         The parties do not currently plan to pursue other methods of alternative dispute resolution.


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                                    Respectfully submitted,

 Dated: June 5, 2019                /s/ Mitchell A. Kamin
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                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing Case Management

 Report was served by the Court’s CM/ECF system on June 5, 2019.



                                                        By: Mitchell A. Kamin
                                                           Mitchell A. Kamin




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